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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
      Plaintiff,                         )
                                         )
      v.                                 )         Case No. 4:16 CV 180 CDP
                                         )
THE CITY OF FERGUSON,                    )
                                         )
      Defendant.                         )
                                         )

     MEMORANDUM AND ORDER VACATING STATUS HEARING

      Because of the anticipated change of counsel for plaintiff,

      IT IS HEREBY ORDERED that the quarterly status hearing, currently

set for May 6, 2025 at 10:00 a.m. in Courtroom 10-South, is postponed and

will be reset by further Order of this Court.



                                      _______________________________
                                      CATHERINE D. PERRY
                                      UNITED STATES DISTRICT JUDGE
Dated this 29th day of April, 2025.
